                        Case
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AO 440 (Rev. 06/12) Summons in a Civil Action


                                      UNITED STATES DISTRICT COURT
                                                                   for the
                                                      Southern District
                                                    __________  DistrictofofNew York
                                                                             __________

 MHAIRI PORTEOUS, Derivatively and on behalf of                      )
   BRAINSTORM CELL THERAPEUTICS INC.,                                )
                                                                     )
                                                                     )
                            Plaintiff(s)                             )
                                                                     )
                                v.                                           Civil Action No. 1:24-cv-1095
                                                                     )
                CHAIM LEBOVITS, et al.                               )
              SEE ADDENDUM ATTACHED                                  )
                                                                     )
                                                                     )
                           Defendant(s)                              )

                                                    SUMMONS IN A CIVIL ACTION

To: (Defendant’s name and address) Chaim Lebovits, Stacy Lindborg, Ralph Kern, Jacob Frenkel, Irit Arbel, June Almenoff,
                                           Nir Naor, Anthony Polverino, Uri Yablonka, Menghis Bairu, Malcolm Taub, Jerold
                                           Chun, Stanley H. Appel, Amit Bar-Or, and Brainstorm Cell Therapeutics, Inc.
                                           c/o Brainstorm Cell Therapeutics, Inc.
                                           1325 Avenue of Americas, 28th Floor
                                           New York, New York, 10019


          A lawsuit has been filed against you.

         Within 21 days after service of this summons on you (not counting the day you received it) — or 60 days if you
are the United States or a United States agency, or an officer or employee of the United States described in Fed. R. Civ.
P. 12 (a)(2) or (3) — you must serve on the plaintiff an answer to the attached complaint or a motion under Rule 12 of
the Federal Rules of Civil Procedure. The answer or motion must be served on the plaintiff or plaintiff’s attorney,
whose name and address are: J. Brandon Walker
                                           Lawrence P. Eagel
                                           BAGAR EAGEL & SQUIRE, P.C.
                                           810 Seventh Avenue, Suite 620
                                           New York, NY 10019
                                           Telephone: (212) 308-5858 ~ Email: walker@bespc.com; eagel@bespc.com

       If you fail to respond, judgment by default will be entered against you for the relief demanded in the complaint.
You also must file your answer or motion with the court.



                                                                                CLERK OF COURT


Date:              2/15/2024                                                                      /s/ P. Canales
                                                                                          Signature of Clerk or Deputy Clerk
           Case
            Case1:24-cv-01095-UA
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                           ADDENDUM TO SUMMONS
                        Mhairi Porteous v. Chaim Lebovits, et al.

CHAIM LEBOVITS, STACY LINDBORG, RALPH KERN, JACOB FRENKEL, IRIT
ARBEL, JUNE ALMENOFF, NIR NAOR, ANTHONY POLVERINO, URI YABLONKA,
MENGHIS BAIRU, MALCOLM TAUB, JEROLD CHUN, STANLEY H. APPEL, AND AMIT
BAR-OR,

                    Defendants,

     and

BRAINSTORM CELL THERAPEUTICS, INC.,

                    Nominal Defendant.
